Case 1:01-cv-12257-PBS Document 4966-15 Filed 12/31/07 Page 1of5

MDL
EXHIBIT 9

oOo CO NS DH GH

vs.

etal.,

Case 1:01-cv-12257-PBS Document 4966-15

Larry J. Crown, Esquire (#013133)

Jorge Franco, Jr., Esquire (#013834)
JENNINGS, HAUG & CUNNINGHAM, LLP
2800 North Central Avenue

Suite 1800

Phoenix, AZ 85004

(602) 234-7800

Donald E. Haviland, Jr., Esquire
THE HAVILAND LAW Fir, L.L.C,
740 South Third Street, Third Floor
Philadelphia, PA 19147

(215) 609-4661

Attomeys for Plaintiffs and Class

Filed 12/31/07 Page 2 of5

IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

IN AND FOR THE COUNTY OF MARICOPA

ROBERT J. SWANSTON, individually and on
behalf of himself and all others similarly situated,

Plaimnuff,
TAP PHARMACEUTICAL PRODUCTS, INC.;

Defendants.

)
)
)
)
)
)
)
)
)
)
)
)

CV2002-004988

ORDER DISMISSING CERTAIN
CLAIMS AND DEFENDANTS
WITHOUT PREJUDICE

(Assigned to the Honorable Janet E.
Barton)

THIS MATTER having been opened to the Court by The Haviland Law Firm, LLC

and Jennings, Haug & Cunningham, Counsel for Plaintiff and the Class, on Plaintiff's

Motion to Dismiss Without Prejudice Conflicting Class Claims as to Defendants overlapping

those asserted in In re Pharmaceutical Industry Average Wholesale Price Litigation, CA No.

01-12257-PBS, MDL No. 1456 (D. Mass.) (“MDL 1456”);

Onthis___ day of December, 2007,

It is hereby ORDERED that Plaintiffs Motion to Dismiss Without Prejudice

Conflicting Class Claims is GRANTED;

re

Case 1:01-cv-12257-PBS Document 4966-15 Filed 12/31/07 Page 3 of 5

IT IS FURTHER ORDERED that the pending class claims against the following
defendants are dismissed without prejudice pursuant to Rule 41 of Arizona Rules of Civil
Procedure to the extent the claims asserted in this action involve the same drugs as are at
issue in MDL 1456: Abbott Laboratories; Amgen Inc.; Zeneca, Inc.; AstraZeneca
Pharmaceuticals L.P.; Aventis Pharmaceuticals Inc.; Hoechst Marion Roussel, Inc.; ZLB
Behring, L.L.C. (f/k/a Aventis Behring L.L.C.); Baxter International Inc.; Baxter Healthcare
Corporation; Bayer Corporation; Bristol-Myers Squibb Co.; Oncology Therapeutics Network
Corp.; Apothecon, Inc.; Dey, Inc.; Fujisawa Healthcare, Inc.; Fujisawa USA, Inc.; Immunex
Corporation; Johnson & Johnson: Centocor, Inc.; Ortho Biotech Products, L.P.; Pharmacia
Corporation; Pharmacia & Upjohn LLC, ffk/a Pharmacia & Upjohn, Inc.; Monsanto
Company; Schering-Plough Corporation; Warrick Pharmaceuticals Corporation; Sicor, Inc.;
Gensia, Inc., and Gensia Sicor Pharmaceuticals, Inc.;

IT IS FURTHER ORDERED that within fourteen (14) days of the entry of this
Order, Plaintiff shall submit to the Court a listing of the drugs of the above-listed Defendants
that are at issue in MDL 1456, the claims for which drugs Paintiff has agreed to dismiss
without prejudice from this case. Such list shall be appended to this Order to make clear on
the recod the extent to which Plaintiff's claims have been dismissed without prejudice;

IT IS FURTHER ORDERED that the Plaintiffs’ claims against the following
Defendants (who are not Defendants in MDL 1456) are dismissed in their entirety, without
prejudice: Ethicon Endo-Surgery, Indigo Medical Inc., Christopher Coleman, Michael T.
Gendelman, Eddy James Hack, Scott Hidalgo, and David Jett.; and

IT IS FURTHER ORDERED that, by this dismissal, (1) defendants do not waive or

release any defenses or arguments, including but not limited to, any statute of limitations

and/or repose defenses, which could have been asserted prior to the effective date of the
Order granting dismissal, (2) any and all applicable statutes of limitations and/or repose are,

from the effective date of the Order granting dismissal and for the pendency of MDL 1456,
~2- 1810815

Case 1:01-cv-12257-PBS Document 4966-15 Filed 12/31/07 Page 4 of 5

tolled, and (3) the reinstatement of any Defendant to this action will not trigger a right of

removal to federal court.

The Honorable Janet E. Barton

-3- 1810815

Case 1:01-cv-12257-PBS Document 4966-15 Filed 12/31/07 Page 5 of 5

CERTIFICATE OF MAILING

I hereby certify that, the foregoing ORDER DISMISSING CERTAIN CLAIMS
AND DEFENDANTS WITHOUT PREJUDICE was duly lodged and served this
date, Decembey(/ ‘2007, on all parties, via Lexis/Nexis.

s/K. Cecil
3778-0

~4- 1810815

